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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                               SOUTHERN DIVISION
                                    (at London)

 UNITED STATES OF AMERICA,                     )
                                               )
        Plaintiff,                             )     Criminal Action No. 6: 12-53-DCR
                                               )
 V.                                            )
                                               )
 BURL M. JOHNSON, et al.,                      )       MEMORANDUM OPINION
                                               )           AND ORDER
        Defendants.                            )

                                    *** *** *** ***

       Defendant Burl M. Johnson was one of several individuals charged with aiding and

abetting (Counts 5 and 6) and conspiring to distribute controlled substances (Counts 24) in

this judicial district in violation of 18 U.S.C. § 2 and 21 U.S.C. §§ 841 and 846. [Record No.

17, pp. 25] On March 7, 2014, Johnson pleaded guilty to one count of conspiring to

distribute Oxycodone. [Record No. 394] He received a sentence of 240 months based on: (i)

the guideline range, which included a leadership role for his criminal conduct; and (ii)

relevant sentencing factors under 18 U.S.C. § 3553(a). [Record No. 431] Johnson has now

filed a motion requesting a reduction of his sentence based on 18 U.S.C. § 3582(c)(2) and

Amendment 782 to the United States Sentencing Guidelines. [Record No. 512]

       The facts supporting Johnson’s guilty plea are outlined in paragraph three of his Plea

Agreement. This paragraph provides:

       (a) Beginning in or about April of 2011, and continuing through on or about
       September 29, 2012, in Bell County, Kentucky -which is located in the Eastern
       Judicial District of Kentucky -and elsewhere, the Defendant, Burl Johnson,

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       conspired with Todd Brock and others to distribute a quantity of oxycodone, a
       Schedule II controlled substance.

       (b) Specifically, Todd Brock was receiving large quantities of pills from
       several sources of supply based out of Michigan. These sources include, but
       are not limited to: Andrew Jackson, Charles Robert Caudill, Jr., aka Chuck,
       Tony C. Money, II, aka Vernon Forest, and Frank Emmanuel Sledge, aka Sir
       Sledge. Jackson and Caudill operated together to bring oxycodone pills to
       Todd Brock. Likewise, Money and Sledge operated together to bring
       oxycodone pills to Todd Brock.

       (c) In turn, Todd Brock directed an oxycodone distribution network in the Bell
       and Harlan County areas. Brock distributed large quantities of oxycodone and
       other diverted pharmaceuticals to others, including, but not limited to, the
       Defendant, Burl M. Johnson, and Elsie Durham, aka Elsie Cole. These
       individuals would then distribute pills to other dealers and middle men, as well
       as end drug users/abusers at the street level.

       (d) During the course of this conspiracy, law enforcement used a cooperating
       witness (CW) to make two (2) controlled purchases of oxycodone 30 mg pills
       directly from the Defendant. On each occasion, the Defendant traveled to
       Todd Brock’s residence to obtain the 30 mg oxycodone pills that he sold to the
       CW.

       (e) Moreover, based on controlled purchases, witness statements, and other
       evidence, the Defendant admits that the United States could prove beyond a
       reasonable doubt that he is responsible for the distribution of approximately
       10,000 oxycodone 30 mg pills, which equals a marijuana equivalency of
       between 1,000 and 3,000 kilograms.

[Record No. 428]

       Based on the large quantity of pills involved, the defendant’s Base Offense Level was

calculated to be 32. [Presentence Investigation Report, “PSR,” p. 11] Johnson also received

a four-level increase to his Base Offense Level for his leadership in the offense and a three-

level reduction for his acceptance of responsibility, which resulted in a Total Offense Level

of 33. [Id.] With a Criminal History Category of VI, Johnson’s sentencing range under the

2013 United States Sentencing Guidelines was 235 to 293 months.             [Id., pp. 11, 22]

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However, the statutorily authorized maximum sentence under 21 U.S.C. § 841(b)(1)(C) was

20 years, so Johnson’s guideline range was 235 to 240 months under U.S.S.G. §

5G1.1(c)(1).1 [Id., p. 22]

        Johnson is currently scheduled to be released from custody on June 16, 2031. See

http://www.bop.gov/inmateloc/ (last checked November 24, 2015).           The United States

Sentencing Commission has since amended the applicable guideline range and given the

amendments retroactive effect. See U.S.S.G. App. C., amend. No. 782, U.S.S.G. § 1B1.10,

p.s. (eff. Nov. 1, 2014). As a result, the relevant drug quantity table in the U.S.S.G. was

reduced by two levels. With a re-calculated total offense level of 31, Johnson’s non-binding

guideline range under the 2014 amendments would be 188 to 235 months.2

        The first issue presented is whether a sentence reduction is warranted in light of the

facts of the case and relevant factors to be considered under 18 U.S.C. § 3553(a). In

addressing this issue, the Court considers, inter alia, the seriousness of the crime, the

personal history and characteristics of the defendant, the defendant’s acceptance of

responsibility and cooperation, specific and general deterrence, and the need to protect the

public from potential, future crimes of Johnson. After again evaluating these and other

sentencing factors, the Court concludes that a reduced term of imprisonment is not

warranted.

1
       The sentences of the co-defendants range from 18 to 210 months of imprisonment.
[PSR, p. 34]
2
       A motion filed under 18 U.S.C. § 3582(c)(2), “is simply a vehicle through which
appropriately sentenced prisoners can urge the court to exercise leniency to give [them] the
benefits of an amendment to the U.S. Sentencing Guideline Manual.” United States v.
Townsend, 98 F.3d 510, 513 (9th Cir. 1996) (emphasis added).
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       As discussed during the sentencing hearing, conspiring to distribute Oxycodone is a

very serious offense. Under the facts presented, a reduced sentence would unduly diminish

the seriousness of Johnson’s criminal conduct. In addition, Johnson’s leadership role weighs

against reducing his sentence.     Johnson involved his niece (Charlotte Johnson) in the

conspiracy. [PSR, p. 26] Moreover, Johnson has an extensive criminal history. He has been

previously convicted of five drug-related offenses and four theft-related offenses. [Id., pp.

1216] Johnson has also been arrested on fourteen other occasions. [Id., pp. 1719] . Once

released, there is substantial likelihood that Johnson will return to criminal conduct. Thus, a

240-month term of imprisonment is needed to protect the public and provide necessary

deterrence regarding future offenses.

       Johnson’s admitted history of substance abuse also presents a danger to the public and

an increased likelihood of recidivism.      [PSR, p. 20]    While the Court has considered

mitigating factors such as the defendant’s acceptance of responsibility, these factors do not

offset the many aggravating factors mentioned above. Finally, the Court has considered the

high costs of incarceration but finds that the expenses that would be saved by reducing

Johnson’s sentence do not outweigh the other sentencing factors outlined above.

        In summary, after again reviewing the relevant § 3553 factors, the Court concludes

that a minimum term of 240 months is necessary and appropriate under the circumstances.

Accordingly, it is hereby

       ORDERED that Defendant Burl M. Johnson’s motion for reduction of his sentence

[Record No. 512] is DENIED.



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    This 25th day of November, 2015.




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